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                                           STATE OF NEW YORK
                                     OFFICE OF THE ATTORNEY GENERAL
LETITIA JAMES                                                                                  JANE M. AZIA, CHIEF
ATTORNEY GENERAL                                                            C ONSUMER F RAUDS AND P ROTECTION B UREAU
                                                                                                 KATE M ATUSCHAK
                                                                                         ASSISTANT ATTORNEY GENERAL
                                                                                 E-MAIL: KATE.MATUSCHAK@AG. NY. GOV
                                                                                                        (212) 416-6189


                                              July 14, 2022

   By ECF

   Hon. Louis L. Stanton, U.S.D.J.
   United States District Court
   Southern District of New York
   500 Pearl Street
   New York, NY 10007

            Re:     FTC et al. v. Quincy Bioscience Holding Co., Inc. et al. (No. 17-cv-00124-LLS)

   Dear Judge Stanton:

            Plaintiffs the People of the State of New York, by Letitia James, Attorney General of the
   State of New York (“NYAG”) and Federal Trade Commission (“FTC”) respectfully submit this
   letter in response to Defendants’ July 11, 2022 letter regarding their letter-motion to seal certain
   material that was filed in connection with their Motion for Summary Judgment [Dkt. No. 277]
   (“7/11/22 Letter”). Because Defendants have still failed to articulate any specific competitive
   harm from the materials’ disclosure, Plaintiffs continue to advocate that they should be publicly
   available in their entirety.

           Plaintiffs submit this brief letter to correct the record. Contrary to Defendants’
   representation to the Court that they “offered to withdraw” the confidentiality designations of
   their expert reports earlier this year, they did, in fact, “hereby withdraw their confidentiality
   designations” for all but one of their expert reports, and withdrew most of the designations for
   the remaining one, in a letter to Plaintiffs dated January 7, 2022. Despite having withdrawn
   those confidentiality designations, Defendants filed those expert reports under seal and argued to
   the Court that disclosure of those reports “would be detrimental to Quincy’s commercial
   interests” and “would harm Quincy’s commercial position by providing its competitors with
   access to marketing strategies and data that Quincy has expended significant funds to develop.”
   (4/14/22 Letter from Castello to Hon. Louis L. Stanton [Dkt. No. 219] at 2, 3.)
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        Defendants fail to explain why, following their de-designation of these expert reports,
they then filed those reports under seal and represented to the Court that public disclosure would
do them harm. And now, Defendants finally offer to file those same reports publicly – but only
if the Court orders them to do so. Given the strong presumption of public access under the
common law and the First Amendment, Defendants’ position is untenable. (See 6/16/22 Letter
from Matuschak & Wone to Hon. Louis L. Stanton [Dkt. No. 252].)

        Plaintiffs also wish to correct Defendants’ assertion that, with respect to the Madison
Memory Study protocol, “the aspects of the protocol that the parties consider to be relevant are
discussed in the parties’ respective expert reports, which Defendants have agreed to file
publicly.” (7/11/22 Letter at 3.) Defendants have not agreed to publicly file the reports of
Plaintiffs’ experts, portions of which Defendants have designated “Confidential” in part because
they discuss the protocol. Defendants cannot choose to selectively disclose the portions of
documents that support their litigation position and seal the portions that do not. They have
articulated no reason why certain information about the protocol is proprietary and would do
them competitive harm if disclosed, while other of that information would not.

                                             Respectfully submitted,


/s/ Kate Matuschak                                   /s/ Andrew Wone
Kate Matuschak                                       Andrew Wone
Assistant Attorney General                           Federal Trade Commission
New York State Office of the Attorney General



cc:    Counsel of Record (via ECF)
